 Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22                   1 523
                                                             Page 1 of 11 PageID:


1                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
2

3    CC FORD GROUP, LLC                 )     22-CV-4143-MAS
                                        )
4                        Plaintiff      )
            vs.                         )
5                                       )
     JENNIFER JOHNSON, ET AL.           )
6                                       )     Trenton, NJ
                                        )     October 24, 2022
7                        Defendant      )     2:49 p.m.

8
           MOTION FOR AN ORDER TO SHOW CAUSE VIA TELECONFERENCE
9                 BEFORE THE HONORABLE MICHAEL A. SHIPP
                       UNITED STATES DISTRICT JUDGE
10

11   APPEARANCES:

12

13   For the Plaintiff:               STEVEN I. ADLER, ESQUIRE
                                      JANINE MATTON, ESQUIRE
14                                    MANDELBAUM BARRETT
                                      3 Becker Farm Road, Suite 105
15                                    Roseland, NJ 07068
                                      973-736-4600
16

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21                      SHANNAN GAGLIARDI, RDR, CRR
                          OFFICIAL COURT REPORTER
22              U.S. DISTRICT COURT, DISTRICT OF NEW JERSEY
                     402 East State Street, Suite 3090
23                          Trenton, NJ 08608
                               (609)815-2750
24

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      Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22              2 PageID: 524
                                                                  Page 2 of 11


1    For Defendant Johnson:           AMY D. LURIA, ESQUIRE
                                      CRITCHLEY, KINUM & LURIA, LLC
2                                     75 Livingston Avenue, Suite 303
                                      Roseland, NJ 07068
3                                     973-422-9200

4
                                      DAVID SLARSKEY, ESQUIRE
5                                     SLARSKEY LLC
                                      420 Lexington Avenue, Suite 2525
6                                     New York, NY 10170
                                      (212) 658-0661
7

8
     For Defendants                   WILLIAM F. O'CONNOR, JR., ESQUIRE
9    Bicking and Weiler:              McELROY DEUTSCH MULVANEY CARPENTER
                                      1300 Mount Kemble Avenue
10                                    P.O. Box 2075
                                      Morristown, NJ 07962
11                                    973-993-8100

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 Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22                    3 525
                                                              Page 3 of 11 PageID:


1         (PROCEEDINGS held via teleconferencing before the

2         Honorable Michael A. Shipp, United States District Judge,

3         at 2:49 p.m.)

4               THE COURT:    Good afternoon, Counsel.          This is the

5    matter of CC Ford Group West versus Johnson, et al., Docket No.

6    22-4143.

7               Who is on the line for the plaintiff?

8               MR. ADLER:    Good afternoon, Your Honor, Steven Adler

9    and Janine Matton from Mandelbaum Barrett.

10              THE COURT:    Okay.   Good afternoon.

11              And who is on for the defendants?            I understand we

12   have two -- go ahead and enter your appearance.             I'm sorry.

13              MS. LURIA:    Good afternoon, Your Honor.         This is Amy

14   Luria from Critchley, Kinum & Luria on behalf of defendants,

15   Jennifer Johnson and Project Velocity.         I'll allow my

16   co-counsel to introduce himself.

17              MR. SLARSKEY:    Good afternoon, Your Honor, David

18   Slarskey from Slarskey LLC.      I'm joined by Ms. Johnson also on

19   behalf of Project Velocity.

20              MR. O'CONNOR:    Good afternoon, Your Honor, Bill

21   O'Connor, McElroy, Deutsch, Mulvaney & Carpenter, for Carrie

22   Bicking and Beth Weiler.

23              THE COURT:    Okay.   Is there anyone else on the line

24   today?

25              MS. STUDDIFORD:     Yes, Cathleen Studdiford.
      Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22              4 PageID: 526
                                                                  Page 4 of 11


1               THE COURT:   Okay.    So this matter comes before the

2    Court by way of an application for emergency injunction.             When

3    the matter was previously before the Court, I declined to fully

4    resolve the TRO application but advised the parties to resolve

5    their differences concerning certain aspects of the request to

6    relief, including, one, the return of the laptop that was

7    possessed by the defendant, Jennifer Johnson, and the update of

8    Johnson's LinkedIn profile to reflect that she departed CC Ford

9    Group West in March of 2022.      My understanding from the letter

10   in correspondence is that the defendant -- that following that

11   conference, that both of those things have been resolved.

12              Now, the parties submitted additional briefing in

13   response to the TRO application.      Now, ordinarily, I really

14   don't need to hear from the parties any further unless you

15   believe there's something additional beyond your papers.             At

16   this time, the Court's really prepared to put a decision on the

17   record.

18              Is there anything else that needs to be said from

19   plaintiff's counsel, Mr. Adler?

20              MR. ADLER:   Yes, Your Honor.      Thank you.     Just

21   briefly, I just want to be clear that at the time we submitted

22   the initial application, there were certain facts that our

23   client was aware of, and since the time we were before Your

24   Honor last, the conduct of the defendants have continued.             So I

25   just wanted to point that out to the Court.
 Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22                   5 527
                                                             Page 5 of 11 PageID:


1               The matters that they are still working on are

2    referenced at the end of John Studdiford's reply certification

3    that we submitted to the Court, and I would submit, based upon

4    the continuing breaches and the various causes of action that

5    we set forth in the amended -- the verified amended complaint,

6    that restraints are needed at this time.

7               If Your Honor has any other questions of me based

8    upon what was stated, I'm happy to respond.

9               THE COURT:    No, I don't.    In fact, I think the papers

10   really speak for themselves.

11              Anything else from the defendants?           And I know that,

12   Mr. O'Connor, you just recently joined in, but let me hear

13   first from Ms. Luria and company.

14              Anything further from your end?

15              MS. LURIA:    Your Honor, Mr. Slarskey, I believe, will

16   answer Your Honor's questions.

17              THE COURT:    Okay.    Mr. Slarskey?

18              MR. SLARSKEY:     No, Your Honor.     I mean, we would just

19   point out, as Your Honor I'm sure noted, much of our argument

20   was addressed in our reply.

21              THE COURT:    All right.    Okay.    Mr. O'Connor, anything

22   to add from you and from your side?

23              MR. O'CONNOR:     No, thank you, Your Honor.

24              THE COURT:     Okay.   Let me put my decision on the

25   record here, folks.      First and foremost, preliminary injunctive
      Case 3:22-cv-04143-MAS-TJB     Document 31   Filed 11/02/22                6 PageID: 528
                                                                      Page 6 of 11


1    relief is an extraordinary remedy and should be granted only in

2    limited circumstances.        Kos Pharmaceuticals, Inc. v. Andrx

3    Corp. 369 F.3d 700, 708 (3d Cir. 2004) (quoting American Tel. &

4    Tel. Co. v. Winback & Conserve Program, Inc., 42 F.3d 1421,

5    1427 (3d Cir. 1994)).         I'm not going to read any citations

6    here.   Those will be in the transcript, if you should choose to

7    order it.

8                In deciding to issue temporary restraints or

9    preliminary injunction, the Court must weigh four factors:

10   One, whether the movant has shown a reasonable probability of

11   success on the merits; two, whether the movant will be

12   irreparably harmed by the denial of relief; three, whether

13   granting preliminary relief will result in either greater harm

14   to the nonmoving part; and, four, whether granting the

15   preliminary relief will be in the public interest.               Gerardi v.

16   Pelullo, 16 F.3d 1363, 1373 (3d Cir. 1994).

17               Plaintiff bears the burden of showing that the

18   factors weigh in favor of granting injunctions.                Kos Pharms.

19   Inc. v. Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004).                While

20   all four factors are important, failure to show either

21   likelihood of success on the merits or irreparable harm must

22   necessarily result in the denial of a preliminary injunction

23   application.    N.A.A.C.P. v. N. Hudson Reg’l Fire & Rescue, 707

24   F.Supp. 2d 520, 542 (D.N.J. 2010) (quoting In re Arthur

25   Treacher’s Franchisee Litigation, 689 F.2d 1137, 1143 (3d Cir.
 Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22                   7 529
                                                             Page 7 of 11 PageID:


1    1982)).

2               The irreparable harm requirement is met if a

3    plaintiff demonstrates a significant risk that he or she will

4    experience harm that cannot adequately be compensated after the

5    fact by monetary damages.      Adams v. Freedom Forge Corp. 204

6    F.3d 475, 484-85 (3d Cir. 2000). See Frank's GMC Truck Center,

7    Inc., 847 F.2d 102-03 (3d Cir. 1988).        This burden is a

8    difficult one to meet because economic loss does not constitute

9    irreparable harm.    Acierno v. New Castle County, 40 F.3d 645

10   653 (3d Cir. 1994).      Irreparable connotes that which cannot be

11   repaired, retrieved, put down again, atoned for.           Id.

12   (citations omitted).      Moreover, the harm must also be

13   immediate.   See Quad/Tech, Inc. v. Q.I. Press Controls B.V.,

14   701 F. Supp. 2d 644 655 (E.D. Pa. 2010) (“In order to make this

15   showing [of irreparable harm], the movant must clearly show

16   ‘immediate irreparable harm,’ rather than a risk of harm.”)

17   (quoting Campbell Soup Co. v. ConAgra, Inc., 977 F.2d 86, 92

18   (3d Cir. 1992)).

19              Here the Court finds that plaintiff has failed to

20   meet its burden.    The pleadings presented to the Court simply

21   fail to indicate that the alleged misappropriation of trade

22   secrets and/or confidential and proprietary information of the

23   company would constitute irreparable harm.          (Pl.’s Moving Br.

24   4, ECF No. 9-6.)

25              First, the Court is not convinced that any
      Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22                8 PageID: 530
                                                                    Page 8 of 11


1    enforceable agreement currently exists to preclude defendant

2    from competing with the company, thus precluding a finding of

3    irreparable harm from defendants' ongoing competition.

4    Defendants point out that plaintiff is not even a party to the

5    2003 agreement, which is between Johnson and CC Ford Marketing

6    Group, LLC, a different entity than plaintiff, and in any

7    event, the non-compete/non-solicit obligations under that

8    agreement expired at the latest in 2015.        (Defs.’ Opp’n Br.

9    12-13, ECF No. 20.)

10              The fact that plaintiff attempted to take this 2003

11   agreement by assignment dated September 11, 2022, presumably in

12   anticipation of filing this request for injunctive relief,

13   calls into serious question its enforceability.              (Id.)   As to

14   the 2022 consulting agreement between Johnson and CC Ford Group

15   and its affiliates, including plaintiff, the non-compete

16   restriction there only ran from May 26, 2022, through July 17,

17   2022, providing no basis for the prospective injunctive relief

18   sought here.   (Am. Compl. ¶¶ 33-34, ECF No. 9.)             And as to all

19   the individual defendants, the Court finds that plaintiff has

20   not adequately demonstrated a risk of ongoing harm such that

21   injunctive relief is warranted.

22              The Court expresses no opinion on the ultimate

23   outcome of plaintiff's breach of contract claim or ability to

24   prove that it contractually could restrict defendants from

25   competing or working with the same clients.         All the Court
 Case 3:22-cv-04143-MAS-TJB    Document 31   Filed 11/02/22                   9 531
                                                              Page 9 of 11 PageID:


1    holds today is plaintiff falls short of showing a substantial

2    likelihood of success on this issue at this stage.

3               Second, the timing weighs against a finding of

4    irreparable harm.    Plaintiff first filed its initial complaint

5    on or about May 16, 2022, without simultaneously seeking

6    injunctive relief, yet this was already two months after

7    Johnson departed from her position as managing director, which

8    occurred on March 25, 2022.       (Id. ¶ 30; Defs.’ Opp’n Br 1.)

9    Plaintiff then waited until September 2022 to file its TRO

10   application.    (See generally Pl.’s Moving Br.)

11              Even assuming that plaintiff did not know about

12   certain breaches until mid-June and that thereafter the parties

13   were attempting to resolve the litigation through mediation,

14   plaintiff still served Johnson its proposed amended complaint

15   in August of 2022, prior to the start of mediation efforts, and

16   could have sought injunctive relief then.           (Defs.’ Opp’n Br.

17   23.)

18              It is also not lost on the Court that plaintiff

19   sought additional time to submit its reply brief in support of

20   the TRO application.       (Pl.’s Stip. of Ext. of Time, ECF No.

21   23.)   These factors cut against a finding that emergency relief

22   is warranted here.       Where irreparable harm is alleged, an

23   application for a temporary restraining order is expected to be

24   filed expeditiously.       See Nutrasweet Co. v. Vit-Mar

25   Enterprises, Inc., 112 F.3d 689, 691 (3d Cir. 1997)
       Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22   Page 1010
                                                                           of 11 PageID:
                                           532

1    (application for TRO filed on same day as complaint); Logic

2    Technology Development LLC v. Levy, No. 17-463 2021 WL 3884287,

3    at *2 (D.N.J. Aug. 31, 2021) (noting approvingly that delays of

4    even weeks or months to seek preliminary injunctions undercut a

5    finding that there is irreparable harm).

6               Third, even if plaintiff could prove irreparable

7    harm, the Court finds that such harm could be reduced to a sum

8    certain.   Plaintiff seeks to protect its legitimate business

9    interest, that being its confidential and proprietary

10   information as well as its customer relations and goodwill.

11   (Pl.’s Moving Br. 6.)

12              Plaintiff's claims, many of which revolve around the

13   alleged stealing of plaintiff's clients, seem to boil down to

14   the request for disgorgement of profits, which sounds in the

15   realm of monetary damages, making injunctive relief

16   inappropriate.   (Id. at 11 (Plaintiff contending, for example,

17   that the Court can compel disgorgement of compensation received

18   by an employee during the period in which the employee violated

19   the duty of loyalty).)

20              Because plaintiff cannot meet its burden to prove

21   irreparable harm, the Court need not run through the other

22   factors.   Plaintiff's application for an order to show cause

23   TRO application is denied without prejudice for the failure to

24   allege the requisite irreparable harm.       The parties should

25   still, however, feel free to reach out to the magistrate judge
     Case 3:22-cv-04143-MAS-TJB   Document 31   Filed 11/02/22    Page 11 of 11 11
                                                                                PageID:
                                         533

1      to set this matter down for expedited discovery to help reach a

2      speedy resolution on the outstanding claims.

3                  So with that, Counsel, that's all that I have for

4      today.   Again, all of the citations will be included in the

5      transcript if you should choose to order it.              That's all we

6      have for today, folks.

7            (Proceedings adjourned at 2:59 p.m.)

8

9                                    CERTIFICATE

10

11     I certify that the foregoing is a correct transcript from the

12     record of proceedings in the above-entitled matter.

13

14     /s/Shannan Gagliardi       11/1/22

15     Shannan Gagliardi

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